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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


WALGREEN CO. and THE KROGER CO.,

                                   Plaintiffs,

                            vs.                                 No. 18-cv-2357

JOHNSON & JOHNSON and
JANSSEN BIOTECH, INC.,

                                   Defendants.

                                    STIPULATION OF DISMISSAL

        Plaintiffs Walgreen Co. and The Kroger Co. (“Plaintiffs”) and Defendants Johnson & Johnson and

Janssen Biotech, Inc. hereby stipulate and agree, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that Plaintiffs’

claims against Johnson & Johnson and Janssen Biotech, Inc. shall be dismissed with prejudice and without

costs or attorney’s fees.

 Dated: February 2, 2022



 /s William F. Cavanaugh                                 /s Scott E. Perwin
 William F. Cavanaugh (pro hac vice)                     Scott E. Perwin (pro hac vice)
 Adeel A. Mangi (pro hac vice)                           Lauren C. Ravkind (pro hac vice)
 Jonathan H. Hatch (pro hac vice)                        Anna T. Neill (pro hac vice)
 Stephanie Teplin (pro hac vice)                         Joshua B. Gray (pro hac vice)
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